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                           UN IT ED STAT ES D ISTR ICT CO UR T
                           SO U TH ER N DISTRICT O F FLO R IDA

                              cwssxo.18U.
                                       17S.-C.C2j.-2*214Alnocs/Galdmarl
                                                 371
                                          18U.S.C.j981(a)(1)(C)

  UN ITED ST ATES O F AM ERIC A

                                                                   FIL ED U N D ER SEA L
                                                                          u
  LA W R EN C E W .PA R K ER ,JR .,                                            W         D.C.
                Defendant.                                                 DE2 2 92917
                                                                         STM NM LARIe RE
                                                                         CsLEo.
                                                                           .
                                                                             RKofuflàark
                                                                                     - s,I
                                       IN FO RM ATIO N

        The U nited States Departm entofJustiee,Crim inalD ivision,Fraud Section,and the

 Acting United StatesAttorney fortheSouthern DistrictofFlorida chargethat:

                                 G EN ERA L A LLEG A TIO N S

        Atalltim esm aterialto thislnform ation:

               Servicio di Telecomunicacion di Aruba N.V. Cûsetar'') was a state-owned
 teleeommunicationsproviderin Aruba,aconstituentcountry ofthe Kingdom ofthe Netherlands.

 Setarw as controlled by the governm entofA ruba and perform ed a function thatAruba treated as

 itsow n,and w as thus an ûtinstrum entality'-of the A ruban governm entasthattenn is used in the

 ForeignCorruptPracticesAct(1$FCPA''),Title15,UnitedStatesCode,Section78dd-2(h)(2)(A).
               PhoneCom pany #1,PhoneCom pany #2,PhoneCompany #3,PhoneCompany #4,

 and PhoneCom pany //5 w ereorganized underthe law softhe State ofFlorida and m aintained their

 principalplacesofbusinessin Florida,and each wasthusa tkdom estic concern''asthattenu isused

 intheFCPA,Title 15,United StatesCode,Section 78dd-2(h)(l).
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                LAW RENCE W .PARKER,JR.,was a United States citizen and resided in

  M iam i-Dade County,within the Southem Disttid ofFlorida,and w as an owner, in whole orin

  part,an otherwise controlling m emberof,orparticipantin,the operation ofPhoneCom pany #1,

  PhoneCompany #2,Phone Company #3,PhoneCompany#4,PhoneCom pany #5, am ong others.

  PARKER was thus a i%dom estic concenf' and an ofiicer, director, employee, agent, and

  stockholderofaû'dom esticconcern''asthoseterm sareused in the FCPA ,Title 15, U nited States

  Code,Section78dd-2(h)(1).
        4.     Foreign O flscialA ,an individualw hose identity isknow n to the United States, w as

  em ployed by SetarasProductM anagerfrrom in oraround 2003 to in oraround July 2016. Foreign

  OfficialA'sjob responsibilitiesincludedinteractingwithvendorsandpurchasingmobilephones
 and accessories forSetar. Foreign OfticialA had intluence overthe approvaland awarding of

 contractsby Setarforthepurchaseofm obilephonesandaccessories.Foreign OftscialA wasthus

 aStforeign oftk ial''asthattmnu isused in theFCPA,Title 15,United StatesCode, Sedion 78dd-

 2(h)(2)(A).
                                        C O N SPIR A CY
                                        (18U.S.C.j371)
        From in oraroundNovember2005 and continuingthrough in oraround M arch 2015,in

 the Southern District of Florida. and elsewhere, the defendant,

                               LA W R ENC E W .PA R K ER ,JR .,

 did willfully,thatis,with the intentto furtherthe objects ofthe conspiracy,and knowingly
 com bine,conspire,confederate,and agree w ith others know n and unknow n to com m itoffenses

 againstthe U nited States,thatis:

        (a)beingadomesticconcern,andanofficer,director,employee,agent,andstockholderof
 adomesticconcelm,to willfullym akeuseofthemailsandmeansandinstrumentalitiesofinterstate

                                                2
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  comm ercecorruptly in furtheranceofan offer,payment,prom iseto pay,and authorization ofthe

  paymentofany money,oftkr,gift,promise to give,and authorization ofthegiving ofanythingof

  valueto a foreign oftk ialand to aperson,whileknowingthatall,ora portion ofsuch money and

 thing ofvalue would be and had been offered,given,and prom ised to a foreign official, for

  purposesofti)intluencingactsanddecisionsofsuchforeignofficialinhisorherofficialcapacity;
  (ii)inducingsuchforeign officialtodo andomittodoactsinviolationofthelawf'
                                                                          ulduty ofsuch
 ofticial;(iii)seeuringanyimproperadvantage;and(iv)inducingsuchforeignofficialtousehisor
                                                   .




 her intluence w ith a foreign governm entand agencies and instrum entalitiesthereofto affed and

  influence acts and decisionsofsuch governm entand agencies and instnzmentalities,in orderto

 assistLAW RENCE W .PARKER JR.and others in obtaining and retaining business for and

 with, and directing business to PA R K ER , Phone Com pany #1, Phone Com pany #2, Phone

 Com pany #3,Phone Com pany #4,Phone Com pany #5,and others,in violation ofTitle 15, U nited

 StatesCode,Section 78dd-2;and

        (b)to knowingly and intentionally devise and intend to devise a scheme and artificeto
 defiaud, and to obtain m oney and property by m eans of false and fraudulent pretenses,

 representations,and prom ises, know ing such pretenses,representations,and prom isesw ere false

 and fraudulentwhen m ade,transmitand cause to betransm itted,by meansofwire,radio, and

 television comm unieation in interstate and tbreign com merce,writings,signs,signals,pidures,

 and soundsforthepurpose ofexecuting such scheme and artifice,in violation ofTitle 18,United

 StatesCode,Section 1343.

                             PU R PO SE O F TH E C O N SPIR AC Y
        5.     The purpose ofthe conspiracy w as for LAW REN C E W .PA R KER ,JR.and his

 co-conspiratorstounlawfullyenrichthelnselves:(a)bymakingcorruptbribepaymentstoForeign

                                               O
                                               D
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  OfticialA inordertoobtainlndretaincontractswith Setar;and(b)bydefraudingSetarofmoney
  and property.

                        M A N N ER A N D M EAN S O F TH E C O N SPIRA C Y

        The manner and means by which LAW RENCE W . PARK ER, JR. and his co-

  conspiratorssoughttoaccomplishtheobjectsandpul-poseoftheconspiracyincluded,amongother
  things,thefollowing,whilein theSouthern DistrictofFloridaand elsewhere:

                  LA W R ENC E W .PAR K ER ,JR .,togetherw ith others,including Foreign Official

  A and othersinvolved in paying bribesto Foreign OfticialA ,discussed in person,and through

 othermeans: (a)making bribe payments which they sometimescalled çtcommissions''- to
  Foreign Oftècial A in order tbr PA R K ER , Phone Com pany #1, Phone Com pany #2, Phone

 Company#3,PhoneCompany#4,PhoneCompany#5,andotherstowinbusinessfrom Setar'
                                                                         ,(b)
 thevalueofbribestobepaidtoForeignOffscialA;and(Q themannerandmeansbywhichbribes
 would be paid to Foreign O fficialA .

                  LAW R EN CE W .PA R K ER ,JR.,together with others,agreed to pay,prom ised

 to pay,and authorized thepaymentofm oney to,and forthe benefitof,Foreign OfficialA in order

 forPARK ER,PhoneCompany#1,PhoneCom pany #2,PhoneCom pany #3,PhoneCompany#4,

 Phone Com pany #5,and others to obtain and retain business w ith Setar.

        8.        LAW R EN C E W .PA R K ER ,JR .,togetherwith others,including Foreign O fficial

    agreed with Foreign OfficialA to receive from Foreign OfficialA confidential business

 infonnation thatwasthe property ofSetar.

                  LAW RENCE W .PARKER,JR .,togetherwith others,catlsed bribepaym entsto

 be w ired from the U nited States-based bank accounts ofPhone Com pany #l,Phone Com pany #2,




                                                 4
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  PhoneCompany #3,and Phone Com pany #5 to foreign bank accountsowned and controlled by

  Foreign O flicialA .

         l0.    LAAVRENCE W .PARKER,JR.,togetherwith others,caused bribe paymentsto

  be paid in cash to Foreign Oft-
                                icialA and Foreign OfficialA 's ex-w ife during lneetings in the

  Southern D istrictofFlorida and elsew here.

                LAW RENCE W .PARKER,JR.,togetherwith others,includingForeignOfficial

 A,tookstepsto concealthebribery schem e,includingby hidingtheam ountofthebribepaym ents

  in invoices sentto Setar.

                                         O V ERT A C TS

         In furtherance ofthe conspiracy,and to accomplish the purposes and objectsthereof,
 LAW R EN CE W . PA R K ER , JR ., and his co-conspirators com m itted and caused to be

 com m itted,in the Southern D istrid ofFlorida and elsewhere,atleastone ofthe tbllow ing overt

 acts,am ong others:

         12.    O n oraboutJuly 16,2008,a co-conspirator,an individualw hose identity isknown

 to theUnited States,providedto LAW RENCE W .PARKER JR.,approxim ately $5,000incash
 to be paid asa bribe to O ftècialA .

                On oraboutSeptem ber27,2012,Foreign OfficialA forwarded viaem ail,tiom his

 Setar em ailaccountin A rtlba to L AW R EN CE W .PA R K ER ,JR .'s U .s.-based em ailaccount,

 proprietary,confidentialbusiness int-
                                     ormation regarding a competing supplier's bid to provide

 m obile phones to Setar.

                O n oraboutA plil24,2013,Foreign O fficialA forwarded via em ail,from hisSetar

 em ail account in Aruba to LA W R EN C E W . PA RK ER , JR .'s U .s.-based em ail account,




                                                5
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 proprietary,contidentialbusiness intbrmation regarding a competing supplier's bid to provide

 m obile phonesto Setar.

        15.    On or aboutN ovem ber 8,2011,LA W R EN CE W .PA R K ER ,JR .,caused Phone

 Company//5towireapproxim ately$33,750 from PhoneCompany #5'sbankaccountintheUnited
 Statesto an overseas bank accountow ned and controlled by Foreign O fficialA .

               O n or about January 9,2012, LAW R EN C E W . PA R K ER , JR ., w hile in the

 Southern Districtof Florida,caused Phone Com pany //3 to wire approxim ately $32,500 from
 Phone Com pany #3's bank account in the U nited States to an overseas bank accountow ned and

 controlled by Foreign O ftscialA .

               O n or aboutJune 23s2014,LAW REN C E W .PA R K ER ,JR .,caused a check to

 be drafted from the Florida-based bank account of Phone Com pany //4 in the amount of

 approximately $9,150 and m ade payable to PARKER,which amountPARK ER latercaused to

 be provided to Foreign O fficialA in cash.

        18.    On or aboutJuly 10,2014,LA W R EN CE W .PA R K ER ,JR .,caused a check to

 be drafted from the Florida-based accountofPhone Com pany //4 in the am ountof-approxim ately

 $5,200 and madepayableto PARK ER,which amountPARKER latercaused to be provided to
 Foreign O fticialA in cash in the Southern DistrictofFlorida.

        Allin violation ofTitle l8,United StatesCode,Sedion 37l.

                                        FO R FEITU R E

               TheUnited Stateshereby givesnoticeto thedefendantthat,uponhisconviction of

 the offenses charged herein,the governm entwillseek forfeiture in aceordance with Title 18,

 United StatesCode,Section 981(a)(l)(C),and Title 28,United States Code,Sedion 2461(c),



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 w hich require any person convicted of such offenses to forfeit any property,real or personal,

 constituting,orderived tiom ,proceeds obtained directly orindirectly asresultofsuch offense.

        AllpursuanttoTitle 18,UnitedStatesCode,Section981(a)(1)(C);Title21,UnitedStates
 Code,Section853(p),
                   'Title28,UnitedStatesCode,Section2461(c).

                                                     t              1p,Q t
       SAN D RA M O SER                             BENJAM IN G.GREENBE o
       A CTIN G CHIEF,FR AU D SECTION               ACTIN G UN ITED STA TES A TTO RN EY
       Crim inalD ivision                           Southern D istrictofFlorida
       U .S.Departm entofJtlstice



                                             B y:     k s A
       JON A THA N P. B LL                          LO IS O STER-STEER S
       VANESSA SN YDER                              A SSISTAN T U .S.A TTO RN EY
       TRIA L A TTORN EY S                          99 NE 4th Street
       Crim inalDivision                            M iam i,FL 33132
       Fraud Section                                Tel:(305)961-9203
       U .S.D epartm entoflustice
       1400 N ew York A venue N W
       W ashington,D C 20005
       Tel:(202)616-5136




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                                               UNITED STATES DISTRICT CO URT
  Case 1:17-cr-20914-CMA Document 3 Entered
                             SO UTHERN DISTRICTon FLSD
                                               OF FLORIDADocket 12/20/2017 Page 8 of 10

UNITED STATES OF AM ERICA                           CASE NO.
VS.
                                                    CERTIFICATE O F TRIAL ATTO RNEY*
LAW RENCE W .PARKER,lR.,
                            Defendant.
                                           /        Superseding Ease Inform ation:

CourtDivision'
             .(selectone)                           New Defendantts)                    Yes            No
                                                    Num berofNew Defendants
 X      M iam i             Key W est               Totalnum berofcounts
        FTL                 W PB            FTP
        ldo hereby certify that:
                  Ihave carefully considered the allegations ofthe indictm ent,the num berofdefendants,the num berof
                  probablewitnessesandthe Iegalcom plexitiesoftheIndictment/lnformation attachedhereto.
                  Iam aware thatthe inform ation supplied on this statementwillbe relied upon by the Judges ofthis Courtin
                  setting theircalendars and scheduling crim inaltrials underthe m andate ofthe Speedy TrialAct,Title 28
                  U.S.C.Section 3161.
                  Interpreter: (YesorNo)          NO
                  ListIanguageand/ordialect            English
                  Thiscase w illtake 0 daysforthe partiesto try.
                  PleasecheckappropriatecategoryandtypeofoffenseIisted below :
                  (Checkonlyone)                                      (Checkonlyone)
        l         0 to 5 days                          X                                 Petty
        11        6 to 10 days                                                  M inor
        11        11 to 20 days                                                 M isdem .
        IV        21 to 60 days                                                 Felony            X
        V:        61 daysand over

        6.        HasthiscasebeenpreviouslyfiledinthisDistrictCourt? (YesorNo)            NO
        Ifyes:
        Judge:                                      Case No.
        (Attach copyofdisposi
                            tiveorder)
        Hasacomplaintbeenfiled inthismatter?                (YesorNo)
        Ifyes:
        M agistrate Case No.
        Related M iscell
                       aneousnum bers:
        Defendantts)infederalcustodyasof
        Defendantts)in statecustodyasof
        Rule20from the                                       Districtof
        Isthisapotentialdeathpenaltycase?(YesorNo)               NO
                  Doesthis case originate from a m atterpending in the Northern Region ofthe U.S.Attorney's Office priorto
                  October14,2003?                   Yes        X No

        8.        Does this case ori
                                   ginate from a m atter pending in the CentralRegion ofthe U.S.Attorney's Office priorto
                  Septem ber1,2007?                 Yes        X      No




                                                            L IS FOSTER-STEERS
                                                            ASSISTANT UNITED STATES ATTO RNEY
                                                            Fl
                                                             orida BarNo.0480509
*penaltySheetts)attached                                                                                       REV4/8/08
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                           UN ITED STA TES D ISTRIC T C O U RT
                           SO U TH ER N D ISTRIC T O F FLO R IDA

                                     PEN A LTY SH E ET

  Defendant's N am e: LAW REN CE W ?PA RK ER ,JR

  Case N o:

  Count#:1

  Conspiracy

  Title 18,United StatesCode,Section 37l

  *M ax.Penalty:      5 Y ears'lm prisonm ent

   *Refers only to possible term ofincarceration,does notinclude possible fines,restitution,
           specialassessm ents,parole term s,or forfeitures that m ay be applicable.
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AO 455(Rev.01/09)Waiverofan Indictment

                                 U NITED STATES D ISTRICT C OURT
                                                     forthe
                                           Southern DistrictofFlorida

               United StatesofAm erica
                            Y.
              LAW RENCE W .PARKER,JR.,
                                                             caseNo.Il-ck.
                                                                         -2.
                                                                           oqlq,Ahmoy (Cw .
                                         W AIVER OF AN INDICTM ENT

      Iunderstandthat1havebeen accused ofone ormoreoffensespunishableby im plisonmentformorethan one
year.lwasadvised in open courtofmy lightsand thenatureoftheproposed chargesagainstm e.

        Afterreceiving thisadvice,1waivemy righttoprosecution by indictmentand consentto prosecution by
infonnation.




                                                                        Signatul'eofdefendant'
                                                                                             stzfftpracy
